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               UNITED STATES DISTRICT COURT
                               Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Romeo Pineda-Aguilar                   Docket Number:      0972 1:02CR05367

Name of Judicial Officer:      United States District Judge Lawrence J. O’Neill

Date of Original Sentence:     5/3/2004

Original Offense: 21 U.S.C. § 846 and 841(a)(1) and 18 USC 2 Conspiracy to Distribute and Possess
With Intent to Distribute a Controlled Substance and Aiding and Abetting (CLASS A FELONY)

Original Sentence: 135 months BOP; 5 years TSR; $100 special assessment; mandatory drug testing.

Special Conditions:

Warrantless Search
Drug/Alcohol Treatment
Drug/Alcohol Testing
Pager/Cellular Phone Restriction
No Alcohol
Mental Health Treatment
Community Corrections Center
Aftercare Co-payment
Registration (drug)

Type of Supervision:     TSR

Date Supervision Commenced:         12/16/2011

Other Court Actions:


7/25/2012:       Probation Form 12B submitted to the Court requesting the defendant's conditions of
                 supervised release be modified to include a special condition requiring him to abstain
                 from alcohol based upon two positive drug tests after he reported using controlled
                 substances and alcohol. The Court approved on July 26, 2012.

1/2/2013:        Probation Form 12B submitted to the Court requesting the defendant's conditions of
                 supervised release be modified to include a special condition he reside in a residential



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                 community corrections center for up to 120 days and he participate in outpatient mental
                 health treatment based upon a positive drug test and his reported emotional distress.
                 The Court approved the same date.

7/1/2014:        Probation Form 12A submitted to the Court advising the defendant tested positive for
                 THC. The probation officer requested no further action be taken as the defendant was
                 referred to substance abuse testing and had tested negative since being referred. The
                 Court approved the same date.




                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:

   1.   The defendant shall reside and participate in a residential community corrections center,
        Turning Point, in Bakersfield, California, for a period of up to 120 days; said placement
        shall commence as directed by the probation officer pursuant to 18 USC 3563(b) (11).
        The defendant shall pay the cost of confinement as determined by the Bureau of Prisons.

Justification: On July 1, 2014, the defendant called this officer requesting to meet with her because, “I
think I’m gonna be in big trouble with you.” He responded to the office shortly after and advised he was
arrested over the weekend for driving under the influence of alcohol. When questioned, the defendant
advised he was out with his girlfriend and her family celebrating a birthday during which he consumed
three beers. His girlfriend was “really drunk” so he drove them home. He was pulled over for no front
license plate and when he rolled the window down, the officer smelled alcohol. He advised his
breathalyzer result was 0.08%. He was arrested and transported to the Kern County Jail for booking, and
released the following day on a promise to appear.

The probation officer spoke with the defendant at length about his violation conduct; not only the arrest
for the new law violation but his violation conduct for consuming alcohol, and the consequences affecting
his supervised release status and his life in general. The defendant said, “If it’s not one thing, it’s
another,” and requested counseling to again teach him how to think about the short and long term
consequences of his actions. He advised his entire family is upset with him. His mother wanted to take a
belt to him and his 13-year-old daughter asked him if he wants to be “locked up” his entire life. The
defendant described his family’s reaction as “painful.”

On July 2, 2014, the probation officer obtained the arrest report from the California Highway Patrol
which described the arrest on June 28, 2014. The defendant was pulled over at 1:43 a.m. because his
vehicle had no front license plate. The officer noted the distinct odor of an alcoholic beverage emitting
from within the vehicle and the defendant’s eyes were red and watery. A series of field sobriety tests
were administered which the defendant failed to perform. Two breathalyzer tests were administered with
results of 0.12% and 0.14%. As of the date of this report, the arrest report has not yet been submitted to




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the Kern County District Attorney’s Office for filing, but the defendant has a tentative arraignment date
of July 22, 2014.

The defendant returned to the probation office on July 2, 2014, as instructed, at which time he was
referred for twice monthly individual substance abuse counseling. He also signed a Probation Form 49
consenting to reside in a residential community corrections center for up to 120 days.

The probation officer considered filing a 12C Petition with a recommendation for incarceration, or a
Modification with a request for an inpatient substance abuse treatment program. However, the defendant
readily admitted his violation conduct, and no other notification was received as to his arrest so it is
possible the probation officer would not have learned of his arrest until his case plan was due for update
in June 2015. Also, the defendant recently graduated from barber school, passed his state boards, and
opened a barber shop. If incarcerated or confined to an inpatient drug program, the defendant could not
maintain his employment nor keep his business open which could negatively impact his successful
completion of supervision and his future. It is felt the measures outlined above will adequately address
the violation conduct and hold him accountable for his actions, yet will allow him to remain in the
community where he can work and manage his business. The probation officer advised the defendant if
he fails to comply with the rules of the residential community corrections center, submits a positive
breathalyzer or urine test while in the program, or otherwise violates the conditions of his supervised
release, the probation officer will file a 12C Petition recommending formal revocation proceedings.



                                                      Respectfully submitted,
                                                      /s/ Julie R. Martin


                                                      JULIE R. MARTIN
                                                      United States Probation Officer
                                                      Telephone: (661) 321-3817
DATED:        7/10/2014
                                                      Reviewed by,
                                                      /s/ Lonnie E. Stockton


                                                      LONNIE E. STOCKTON
                                                      Supervising United States Probation Officer




THE COURT ORDERS:


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☒ Modification approved as recommended.

CC:

United States Probation

Assistant United States Attorney: Virna Santos

Defense Counsel: Nicholas F. Reyes (rtnd)




IT IS SO ORDERED.

      Dated:    July 11, 2014                                  /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE




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